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   10
   11
   12                      UNITED STATES DISTRICT COURT
   13                    CENTRAL DISTRICT OF CALIFORNIA
   14              WESTERN DIVISION – ROYBAL COURTHOUSE
   15
   16 ATTEBURY GRAIN, LLC, a limited              Case No. 2:17-cv-02407 R (PJWx)
      liability company,                          Assigned to the Hon. Manuel L. Real
   17
   18              Plaintiff,                     FINDINGS OF FACT AND
                                                  CONCLUSIONS OF LAW
   19        v.
                                                  Trial Date: Vacated
   20 VAC PROPERTIES, LLC, a limited
      liability company; VICENTE A.
   21 CORTEZ, TRUSTEE OF THE
      VICENTE CORTEZ SEPARATE
   22 PROPERTY TRUST; VICENTE
      CORTEZ, an individual; and JUANA
   23 CORTEZ, an individual; and JUAN
      CORTEZ, an individual,
   24
   25              Defendants.
   26
   27
   28

                   ATTEBURY GRAIN, LLC’S FINDINGS OF FACT AND CONCLUSIONS OF LAW
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    1                                              I.
    2                                     BACKGROUND
    3        1.     On March 28, 2017, Plaintiff Attebury Grain, LLC (“Plaintiff” or
    4 “Attebury”) filed its Complaint in this action alleging four claims for relief under
    5 California’s Uniform Voidable Transactions Act (“UVTA”), Cal. Civil Code §
    6 3439 et seq., against Defendants VAC Properties, LLC (“VAC”); Vicente A.
    7 Cortez, as Trustee of the Vicente Cortez Separate Property Trust (“Trust”); Vicente
    8 Cortez; Juana Cortez; and Juan Cortez (Dkt. No. 1).
    9        2.     No jury trial was demanded in the Complaint, and no party has at any
   10 time demanded a trial by jury.
   11        3.     On July 3, 2017, the Court set a trial date of November 28, 2017 and
   12 pretrial conference of November 6, 2017 (Dkt. No. 28).
   13        4.     On September 18, 2017, Plaintiff made a Motion for Partial Summary
   14 Judgment, or in the Alternative, for an Order Treating Specified Facts as
   15 Established (“Motion,” Dkt. No. 30). By the Motion, Plaintiff sought summary
   16 judgment on the First and Second Claims for Relief.
   17        5.     On October 11, 2017, this Court issued an order taking the Motion
   18 under submission (Dkt. No. 45).
   19        6.     On November 1, 2017, the Court continued the pretrial conference
   20 from November 6, 2017, to November 16, 2017, and directed the parties to lodge
   21 the pretrial conference order on or before November 13, 2017 (Dkt. No. 55).
   22        7.     On November 13, 2017, the Court, having considered all memoranda
   23 of points and authorities and all evidence presented in support of, and opposition
   24 to, the Motion, granted the Motion and issued a written order (Dkt. No. 58).
   25        8.     On November 13, 2017, the parties lodged an Amended Pretrial
   26 Conference Order (Dkt. No. 59). As set forth in the parties’ amended Pretrial
   27 Conference Order, Plaintiff seeks the following remedies:
   28               a.     A judgment in the amount of the value of each asset
                                                   1
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    1                      fraudulently transferred at the time of the transfer, Cal. Civ.
    2                      Code § 3439.08
    3               b.     Prejudgment interest. Cal. Civ. Code §§ 3287, 3289.
    4               c.     Exemplary damages. Cal. Civ. Code § 3294.
    5               d.     Avoidance of the transfers to the extent necessary to satisfy the
    6                      creditor's claim. Cal. Civ. Code § 3439.07(a)(1).
    7               e.     An attachment or other provisional remedy against the asset
    8                      transferred or other property of the transferee. Cal. Civ. Code §
    9                      3439.07(a)(2).
   10               f.     An injunction against further disposition by the debtor and the
   11                      transferee of the asset transferred or other property of the
   12                      transferee. Cal. Civ. Code § 3439.07(a)(3)(A).
   13
                    g.     Appointment of a receiver to take charge of the asset transferred
   14
                           or other property of the transferee.            Cal. Civ. Code §
   15
                           3439.07(a)(3)(B).
   16
   17               h.     Any other relief the circumstances may require. Cal. Civ. Code

   18                      § 3439.07(a)(3)(C).

   19         9.    On November 16, 2017, the Court held a hearing on the date set for
   20 the pretrial conference. Plaintiff indicated that the parties intended to stipulate to
   21 the dismissal without prejudice of all claims not the subject of the Motion, and that
   22 Plaintiff would request that the Court thereafter enter judgment in this matter.
   23 During the hearing, the Court signed the Pretrial Conference Order lodged by the
   24 parties (Dkt. No. 59) and directed Plaintiff to submit a Proposed Judgment and any
   25 additional Proposed Findings of Fact and Conclusions of Law necessary to support
   26 the judgment Plaintiff intended to propose.
   27
   28
                                                   2
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    1                                             II.
    2                        APPLICABLE LEGAL STANDARDS
    3         The legal standards applicable to a motion for summary adjudication are set
    4 forth in the Court’s order granting Plaintiff’s Motion (Dkt. No. 58). The legal
    5 standards applicable to the remedies Plaintiff seeks are discussed in section IV.C,
    6 below.
    7                                             III.
                                                                1
    8                                 FINDINGS OF FACT
    9         This case arises from a 2011 dispute over a corn processor’s failure to pay
   10 its supplier for inventory. In 2015, Attebury filed an action entitled Attebury
   11 Grain, LLC v. The Grayn Company, et al., No. 2:15-cv-05258-R before this Court
   12 (the “2015 Action”).
   13         The instant litigation arises from the alleged fraudulent transfers that
   14 Defendants made following the April 18, 2016 hearing in the 2015 Action. The
   15 salient facts related to the fraudulent transfers at issue in this action are
   16 uncontroverted.
   17 A.      Findings of Fact related to Background
   18         1.     Superior Grain Company was a corn processor founded by Defendant
   19 Vicente Cortez and privately held within his family.
   20         2.     In 2011, Plaintiff supplied Superior with corn, but Superior did not
   21 pay for it.
   22         3.     Plaintiff prevailed in arbitration against Superior.
   23         4.     On October 1, 2013, Plaintiff registered its arbitration award in the
   24 Central District of California and began collection efforts.
   25         5.     In the meantime, Superior had ceased business operations, and
   26 Vicente Cortez had formed a new company, Grayn, which carried on Superior’s
   27
      1 If any finding of fact herein is a conclusion of law, or vice versa, it shall be
   28 treated as such.
                                                   3
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    1 business, while Superior filed for bankruptcy.
    2        6.     On July 13, 2015, in an attempt to reach Superior’s assets, Plaintiff
    3 filed the 2015 Action, alleging claims for fraudulent transfer and constructive
    4 fraudulent transfer under California’s Uniform Voidable Transactions Act
    5 (“UVTA”), Cal. Civil Code § 3439 et seq., alter ego liability, and unjust
    6 enrichment (the “2015 Action”).
    7        7.     In January 2016, Vicente Cortez and Defendant Juana Cortez
    8 purchased an investment property located on Gratian Street in the City of Los
    9 Angeles, for more than $300,000.00 (“Gratian Street Property”).
   10        8.     Title to the Gratian Street Property was vested in the names of Vicente
   11 Cortez and Juana Cortez, husband and wife as community property.
   12        9.     To purchase the Gratian Street Property, Vicente Cortez and Juana
   13 Cortez opened a line of credit with the Bank of the West.
   14 B.     Findings of Fact related to First and Second Claims for Relief One
   15        10.    On March 21, 2016, in the 2015 Action, Attebury filed a Motion for
   16 Summary Judgment (“Motion”) against Vicente Cortez and Grayn.
   17        11.    At a hearing on April 18, 2016, this Court granted Plaintiff’s Motion
   18 for Summary Judgment as to all claims in the 2015 Action.
   19        12.    The next day, April 19, 2016, Vicente Cortez made three “In Person”
   20 transfers ($1,333.06, $4,000.00, and $55,000.00) from his Bank of the West
   21 Classic Savings Account (account no. XXX-XX6522) to his Bank of the West
   22 Wealth Management Checking Account (account no. XXXX4159).
   23        13.    As a result of the April 19, 2016, transfers from Vicente Cortez’s
   24 Bank of the West Classic Savings Account (account no. XXX-XX6522) the
   25 balance of that account dropped from $61,333.06 to $1,000.00.
   26        14.    Vicente Cortez deposited $9,000.00 in cash into his Bank of the West
   27 Wealth Management Checking Account (account no. XXXX4159).
   28
                                                  4
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    1         15.   After transferring and depositing a total of $69,333.06 ($1,333.06 +
    2 $4,000.00 + $55,000.00 + $9,000.00) into his Bank of the West Wealth
    3 Management Checking Account (account no. XXXX4159) on April 19, 2017, the
    4 balance of that account was $451,582.56.
    5         16.   On April 19, 2016, Vicente Cortez wrote two checks totaling
    6 $451,492.49 ($200,000.00 + $251,492.49, collectively “the April 19, 2016
    7 Transfers”) against his Bank of the West Wealth Management Checking Account
    8 (account no. XXXX4159).
    9         17.   As a result of the April 19, 2016, transfers from Vicente Cortez’s
   10 Wealth Management Checking Account (account no. XXXX4159) the balance of
   11 that account dropped to $90.07.
   12         18.   The two checks totaling $451,492.49 against Vicente Cortez’s Bank
   13 of the West Wealth Management Checking Account (account no. XXXX4159)
   14 were made payable to “Bank of the West Cashier’s Ck” ($200,000.00, check no.
   15 1034) and “Bank of the West Payment” ($251,492.49, check no. 1035).
   16         19.   Vicente Cortez transferred the $200,000.00 to his son, Juan Cortez.
   17         20.   Vicente Cortez transferred the $251,492.49 to Bank of the West in
   18 payoff of the line of credit used to purchase the Gratian Street Property.
   19         21.   The line of credit paid off with the $251,492.49 was secured by the
   20 residence of Vicente and Juana Cortez, located on McDonnell Avenue in Los
   21 Angeles, and owned by Vicente and Juana Cortez without encumbrances.
   22         22.   On May 3, 2016, this Court entered judgment against Vicente Cortez
   23 for $1,010,343.05.
   24         23.   On May 6, 2016, Vicente Cortez caused the organization of Defendant
   25 VAC Properties (“VAC”), a limited liability company of which Vicente Cortez is
   26 the sole managing member.
   27         24.   On May 20, 2016, Vicente and Juana Cortez transferred the Gratian
   28 Street Property to VAC for $100,000.00—money they had loaned to VAC.
                                                   5
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    1        25.     On May 20, 2016, the same day of the transfer of the Gratian Street
    2 Property to VAC, Juana Cortez and Vicente Cortez executed a Short Form Deed of
    3 Trust and Assignment of Rents and designated themselves as the beneficiaries.
    4        26.     At a January 19, 2017, Judgment Debtor’s Examination, Vicente
    5 Cortez testified that the transfer of the Gratian Street Property was prompted by
    6 Juana Cortez’s concerns that Attebury would acquire the property unless it was
    7 transferred.
    8        27.     On January 19, 2017, and again on February 28, 2017, Vicente Cortez
    9 testified that his own actions with respect to the transfer of the Gratian Street
   10 Property were motivated by the same concerns, i.e., that Attebury would acquire
   11 the property unless it was transferred.
   12 C.     Findings of Fact related to Punitive Damages
   13        28.     The purpose of the April 19, 2016 Transfers was to hinder and delay
   14 Attebury’s collection efforts and to defraud Attebury.
   15        29.     The purpose of transferring the Gratian Street Property was to hinder
   16 and delay Attebury’s collection efforts and to defraud Attebury.
   17        30.     Defendant Vicente Cortez Separate Property Trust is a revocable trust,
   18 and Vicente Cortez is the trustee.
   19        31.     The trust documents for the Vicente Cortez Separate Property Trust
   20 provide that “[Vicente Cortez] may revoke the trust in whole or in part, may amend
   21 any of its provisions, and may cancel any amendment.”
   22        32.     During a January 19, 2017, Judgment Debtor Examination, Vicente
   23 Cortez testified that the Vicente Cortez Separate Property Trust owns real property
   24 located on Whittier Blvd. in Pico Rivera, California, where the La Fortuna Market
   25 is located.
   26        33.     During a January 19, 2017, Judgment Debtor Examination, Vicente
   27 Cortez testified that the Vicente Cortez Separate Property Trust owns real property
   28 located on Garvey Avenue in El Monte, California, where La Mano Tortilleria is
                                                   6
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    1 located.
    2         34.   In addition to the Garvey Avenue Property on which La Mano
    3 Tortilleria is located, Vicente Cortez owns the La Mano tortilla factory itself.
    4         35.   The Vicente Cortez Separate Property Trust was created April 25,
    5 2013.
    6         36.   During a January 19, 2017, Judgment Debtor’s Examination, Vicente
    7 Cortez testified that he and his wife, Juana Cortez, own three vehicles.
    8         37.   During her September 1, 2017, deposition, Juana Cortez testified that
    9 she receives the monthly rent of $1,500.00, in cash, from the tenants of the Gratian
   10 Street Property.
   11                                             IV.
   12                               CONCLUSIONS OF LAW
   13         The plaintiff bears the burden of proving each element of its claims. See
   14 Southern California Gas Co. v. City of Santa Ana, 336 F.3d 885, 888 (9th Cir.
   15 2003). Attebury has met this burden with respect to the First and Second Claims
   16 for Relief.
   17 A.      Conclusions of Law related to First Claim for Relief
   18         1.    Under the California UVTA, asset transfers by a debtor are voidable if
   19 the transfer was made “with actual intent to hinder, delay, or defraud any creditor
   20 of the debtor.” Cal. Civ. Code § 3439.04(a)(1).
   21         2.    Courts may consider several factors to determine intent to hinder,
   22 delay, or defraud, but no single factor is dispositive. See Filip v. Bucurenciu, 28
   23 Cal. Rptr. 3d 884, 890 (Cal. App. 2005).
   24         3.    The factors are set forth in the UVTA, Cal. Civ. Code § 3439.04(b),
   25 and include whether: (1) the transfer or obligation was to an insider; (2) the debtor
   26 retained possession or control over the property after the transfer; (3) the transfer
   27 was disclosed or concealed; (4) the transfer was made after the debtor had been
   28 sued or threatened with suit; (5) the transfer was of substantially all of the debtor’s
                                                   7
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    1 assets; (6) the debtor absconded; (7) the debtor removed or concealed assets; (8)
    2 the consideration that the debtor received was reasonably equivalent to the value of
    3 the asset; (9) the debtor was insolvent or became insolvent shortly after the transfer
    4 was made; (10) the transfer occurred shortly before or shortly after a substantial
    5 debt was incurred; (11) the debtor transferred the essential assets of the business to
    6 a lienor that transferred the assets to an insider of the debtor. Cal. Civ. Code §
    7 3439.04(b).
    8        4.     After considering the foregoing factors, and for the reasons articulated
    9 in its Order Granting Plaintiff’s Motion For Partial Summary Judgment (Dkt. No.
   10 58), the Court finds that the 2016 Transfers were intentional fraudulent transfers
   11 under the UVTA, and Plaintiff is entitled to judgment under Section 3439.04 on
   12 the First Claim for Relief.
   13        5.     Juana Cortez and Vicente Cortez testified under oath that they
   14 intended to hinder, delay, and defraud Attebury’s collection efforts by transferring
   15 the Gratian Street Property to VAC, which was the “first transferee” of that asset.
   16 Cal. Civ. Code § 3439.08(b)(1)(A).
   17        6.     The Court concludes, based on the uncontroverted evidence, that
   18 Vicente and Juana Cortez’s intent in transferring the Gratian Street Property was to
   19 hinder and delay Attebury’s collection efforts and to defraud Attebury.
   20        7.     The Court likewise concludes, based on the uncontroverted evidence,
   21 that Vicente Cortez’s intent in making the April 19, 2016, transfers of $451,492.49
   22 from his checking account was to hinder and delay Attebury’s collection efforts
   23 and to defraud Attebury.
   24        8.     Vicente Cortez’s April 19, 2016, transfers from his checking account
   25 were insider transfers made immediately after the Court granted Attebury’s motion
   26 for summary judgment.
   27        9.     With respect to Vicente Cortez’s transfer of $200,000.00 to Juan
   28 Cortez, the “first transferee,” Cal. Civ. Code § 3439.08(b)(1)(A), is a member of
                                                   8
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    1 Vicente Cortez’s immediate family. Juana Cortez testified at her deposition that,
    2 to her knowledge, Vicente Cortez did not owe his son Juan Cortez a debt, and did
    3 not know why he would transfer that money to his son.
    4         10.   With respect to Vicente Cortez’s transfer of $251,492.49 to pay off a
    5 Bank of the West credit line, Vicente Cortez transmuted the cash (which was his
    6 own property) into equity in the home (which was community property). The
    7 marital community of Vicente and Juana Cortez was either the “first transferee” of
    8 the $251,492.49 or an “immediate or mediate transferee of the first transferee”
    9 against which a judgment may be entered. Cal. Civ. Code § 3439.08(b)(1)(A), (B).
   10 B.      Conclusions of Law related to Second Claim for Relief
   11         11.   Constructive fraudulent transfers are voidable under California Civil
   12 Code sections 3439.05 if (1) the obligation to the creditor arose before the transfer;
   13 (2) the debtor did not receive reasonably equivalent value; and (3) the debtor was
   14 insolvent at that time or became insolvent as a result of the transfer. Cal. Civ.
   15 Code § 3439.05.
   16         12.   For the reasons articulated in its Order Granting Plaintiff’s Motion For
   17 Partial Summary Judgment (Dkt. No. 58), the Court finds that the 2016 Transfers
   18 were constructive fraudulent transfers under the UVTA, and Plaintiff is entitled to
   19 judgment under Section 3439.05 on the Second Claim for Relief.
   20         13.   Vicente Cortez’s debt to Attebury arose prior to the constructive
   21 fraudulent transfers alleged in the Second Claim for Relief.
   22         14.   It is uncontroverted that the transfers of assets from Vicente Cortez to
   23 Juan Cortez ($200,000.00) and from Vicente Cortez to the marital community of
   24 Vicente Cortez and Juana Cortez ($251,492.49, in the form of additional equity in
   25 their residence) did not involve payment of the reasonably equivalent value of the
   26 assets.
   27         15.   The Gratian Street Property was purchased for over $300,000.00 in
   28 January 2016, and only four months later, it was transferred to VAC in exchange
                                                   9
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    1 for $100,000.00—money loaned to VAC by Defendants.
    2         16.   Under the UVTA, a debtor is insolvent if “the sum of the debtor’s
    3 debts is greater than the sum of the debtor’s assets.” Cal. Civ. Code § 3439.02(a).
    4 After the 2016 Transfers, Vicente Cortez had a balance of $1,000.00 in his savings
    5 account, $90.07 in his checking account and had divested himself of all of his
    6 assets apart from his residence.        Apart from the actual asset-to-debt figures,
    7 Vicente Cortez is presumed insolvent by law because of his failure to pay his debt
    8 to Attebury as it became due. Cal. Civ. Code § 3439.02(b).
    9 C.      Conclusions of Law related to Remedies sought by Plaintiff
   10         17.   A successful plaintiff may “recover judgment for the value of the
   11 asset transferred . . . or the amount necessary to satisfy the creditor’s claim,
   12 whichever is less.” Cal. Civ. Code § 3439.08(b)(1)(A)
   13         18.   A successful plaintiff may also “obtain [a]ny other relief the
   14 circumstances may require,” Cal. Civ. Code § 3439.07(a)(3)(C), subject to
   15 limitations specified in the statute.
   16         19.   Under California law, “[i]n an action for the breach of an obligation
   17 not arising from contract, where it is proven by clear and convincing evidence that
   18 the defendant has been guilty of oppression, fraud, or malice, the plaintiff, in
   19 addition to the actual damages, may recover damages for the sake of example and
   20 by way of punishing the defendant.” Cal. Civ. Code § 3294(a).
   21         20.   In an action under the UVTA, a creditor may obtain avoidance of a
   22 transfers to the extent necessary to satisfy the creditor's claim. Cal. Civ. Code §
   23 3439.07(a)(1).
   24         21.   Avoidance of the transfer of the Gratian Street Property to VAC is
   25 necessary to satisfy Attebury’s judgment, in the 2015 Action, against Vicente
   26 Cortez.
   27         22.   In an action under the UVTA, a creditor may obtain a money
   28 judgment in the amount of the value of each asset fraudulently transferred at the
                                                  10
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    1 time of the transfer, Cal. Civ. Code § 3439.08(b)(1), and any other relief the
    2 circumstances may require, Cal. Civ. Code § 3439.07(a)(3)(C).
    3         23.   A judgment in the amount of the value of an asset fraudulently
    4 transferred may be entered against the “first transferee of the asset or the person for
    5 whose benefit the transfer was made” or an “immediate or mediate transferee of
    6 the first transferee” who did not in good faith take the asset for value. Cal. Civ.
    7 Code § 3439.08(b)(1)(A), (B).
    8         24.   The “first transferees,” Cal. Civ. Code § 3439.08(b)(1)(A), of Vicente
    9 Cortez’s April 19, 2016, transfers of $451,492.49 from his checking account were
   10 Juan Cortez ($200,000.00) and the marital community of Vicente and Juana Cortez
   11 ($251,492.49), respectively.
   12         25.   Under the UVTA’s “[a]ny other relief the circumstances may require”
   13 language, Cal. Civ. Code § 3439.07(a)(3)(C), courts may, and have, imposed
   14 money judgments against fraudulent transferors and transferees, jointly and
   15 severally. See, e.g., McCalla v. E.C. Kenyon Constr. Co., Inc., 183 So. 3d 1192
   16 Fla. 2016) (interpreting same language in Florida’s UVTA).
   17         26.   “In an action for the breach of an obligation not arising from contract,
   18 where it is proven by clear and convincing evidence that the defendant has been
   19 guilty of oppression, fraud, or malice, the plaintiff, in addition to the actual
   20 damages, may recover damages for the sake of example and by way of punishing
   21 the defendant. Cal. Civ. Code § 3294.
   22         27.   California courts have awarded punitive damages on fraudulent
   23 transfer causes of action. See, e.g., Tassone v. Tovar, 28 Cal. App. 4th 765, 767
   24 (1994) (action for fraudulent transfer).
   25         28.   “The purpose of punitive damages is to punish wrongdoers and
   26 thereby deter the commission of wrongful acts.” Neal v. Farmers Ins. Exchange,
   27 21 Cal. 3d 910, 928 (1978).
   28         29.   “Punitive damages are to be assessed in an amount which, depending
                                                  11
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    1 upon the defendant’s financial worth and other factors, will deter him and others
    2 from committing similar misdeeds. Because compensatory damages are designed
    3 to make the plaintiff ‘whole,’ punitive damages are a ‘windfall’ form of recovery.”
    4 College Hospital, Inc. v. Superior Court, 8 Cal. 4th 704, 712 (1994) (internal
    5 citations omitted.)
    6        30.    The factors related to an appropriate amount of punitive damages
    7 include the particular nature of the defendant’s acts in light of the whole record and
    8 the amount of compensatory damages awarded. Neal, 21 Cal. 3d at 928 (internal
    9 citations omitted.)
   10        31.    The compensatory damages in this matter are $451,492.49, as set
   11 forth below, in addition to the avoidance of the transfer of the Gratian Street
   12 Property to VAC.
   13        32.    The conduct of Vicente, Juana, and Juan Cortez (collectively
   14 “Defendants”) is uncontroverted, and it clearly and convincingly meets the
   15 standard of Civil Code section 3294. On April 19, 2016, the day after this Court
   16 granted Plaintiff’s motion for summary judgment in the 2015 Action, and in the
   17 days that followed, Defendants Vicente Cortez and Juana Cortez intentionally
   18 engaged in fraudulent conduct to cause injury and hardship to Attebury and are
   19 therefore guilty of oppression, fraud, and malice. The objective of Defendants
   20 Vicente Cortez and Juana Cortez, by their own admissions, was to defraud, hinder,
   21 and delay Attebury’s attempts to enforce its judgment in the 2015 Action. This
   22 intent, alone and in combination with the recurring nature of Defendants’ intra-
   23 familial conduct—this action is founded upon the 2015 Action for fraudulent
   24 transfers—is clear and convincing evidence warranting the imposition of punitive
   25 damages for the sake of example and by way of punishing the Defendants Vicente
   26 Cortez and Juana Cortez.
   27        33.    The uncontroverted evidence also establishes that Defendant Vicente
   28 Cortez owns or controls an entity and a revocable trust that, in turn, own multiple
                                                  12
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    1 residences, including the Vicente Cortez’s own residence (owned by the marital
    2 community of Vicente and Juana Cortez), as well as the residential investment
    3 property on Gratian Street (owned by VAC), and the Garvey Ave. Property in El
    4 Monte and the Whittier Blvd. Property in Pico Rivera, where La Mano Tortilleria
    5 and La Fortuna Market, respectively, are located (owned by the Trust).
    6        34.    The uncontroverted evidence also establishes that Defendant Vicente
    7 Cortez, on the date of the April 19, 2016, fraudulent transfers alleged in the First
    8 and Second Claims for Relief also had more than $450,000 on deposit in demand
    9 accounts at Bank of the West.
   10        35.    The Court finds that that double the amount of compensatory
   11 damages, $902,984.98, is an appropriate measure of punitive damages in the
   12 circumstances.
   13 D.     Conclusions of Law related to Pre- and Post-Judgment Interest
   14        36.    In diversity cases, state law controls the availability and amount of
   15 pre-judgment interest. James B. Lansing Sound, Inc. v. Nat'l Union Fire Ins. Co.
   16 of Pittsburgh, Pa., 801 F.2d 1560, 1569 (9th Cir. 1986), amended 981 F.2d 1549
   17 (9th Cir. 1992). In order to recover pre-judgment interest under California law,
   18 damages must have been calculable at the time. Cal. Civ. Code § 3287 and § 3289.
   19 In cases where interest is awarded on non-contractual claims, the rate is 7% per
   20 annum from the date the claim arose. Cal. Const. Art. XV § 1.
   21        37.    The     uncontroverted     facts   herein    establish    that   Attebury’s
   22 compensatory damages claims against Vicente Cortez, Juana Cortez, and Juan
   23 Cortez became liquidated on April 19, 2016, when Vicente Cortez transferred
   24 $451,492.49 from his bank accounts at Bank of the West.                   (To the extent
   25 necessary, those transfers may be avoided to the extent necessary to satisfy
   26 Attebury’s claims. Cal. Civ. Code § 3439.07(a)(1).)
   27        38.    Plaintiff is entitled to prejudgment interest at the rate of 7% per
   28 annum on its calculable damages of $451,492.49, recoverable as set forth below.
                                                  13
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    1         39.    With respect to post-judgment interest, in diversity cases, post-
    2 judgment interest is calculated under federal law. Under 28 U.S.C. § 1962, “[s]uch
    3 interest shall be calculated from the date of the entry of the judgment, at a rate
    4 equal to the weekly average 1-year constant maturity Treasury yield, as published
    5 by the Board of Governors of the Federal Reserve System, for the calendar week
    6 preceding the date of the judgment.” As of the week commencing November 20,
    7 2017, the federal post-judgment interest rate was 1.61%.
    8                                               V.
    9                                           ORDER
   10         Based on the foregoing Findings of Fact and Conclusions of Law, Judgment
   11 in favor of Plaintiff is appropriate, as follows.
   12         1.     Against Defendants Vicente Cortez and Juan Cortez, jointly and
   13 severally, the amount of $200,000.00, plus prejudgment interest at the rate of 7%
   14 per annum (daily rate of $38.36) from April 19, 2016, until the date of this
   15 Judgment. (As of November 28, 2017, the prejudgment interest since April 19,
   16 2016, is $22,553.42. When the prejudgment interest through November 28, 2017,
   17 is combined with the judgment amount, it sums to $222,553.42.)
   18         2.     Against Defendants Vicente Cortez and Juana Cortez, jointly and
   19 severally, the amount of $251,492.49, plus prejudgment interest at the rate of 7%
   20 per annum (daily rate of $48.23) from April 19, 2016, until the date of this
   21 Judgment. (As of November 28, 2017, the prejudgment interest since April 19,
   22 2016, is $28,360.08. When the prejudgment interest through November 28, 2017,
   23 is combined with the judgment amount, it sums to $279,852.57.)
   24         3.     Against Defendant Vicente Cortez, the amount of $902,984.98 (actual
   25 amount of funds fraudulently transferred ($451,492.49) x 2), as exemplary
   26 damages, pursuant to California Civil Code § 3294(a).
   27         4.     Plaintiff is also entitled to post-judgment interest at the rate of 1.61%,
   28 the weekly average one-year constant maturity Treasury yield, as published by the
                                                  14
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    1 Board of Governors of the Federal Reserve System, for the calendar week ending
    2 November 24, 2017.
    3          5.    The transfer of the Gratian Street Property to VAC is avoided to the
    4 extent necessary to satisfy Plaintiff’s judgment, in the 2015 Action.
    5          6.    In addition to the foregoing Plaintiff may obtain:
    6                (1)    An attachment or other provisional remedy against the asset
    7                       transferred or other property of a transferee.
    8                (2)    An injunction against further disposition by the debtor or a
    9                       transferee, or both, of the asset transferred or other property of a
   10                       transferee.
   11                (3)    Appointment of a receiver to take charge of the asset transferred
   12                       or other property of a transferee.
   13                (4)    Execution on the assets transferred or their proceeds.
   14 Cal. Civ. Code § 3439.07 (a)(1)-(3), (c). If Plaintiff requires any of the foregoing
   15 remedies, it shall apply separately to this Court.
   16          7.    Plaintiff is entitled to its costs of suit and is directed to submit a bill of
   17 costs.
   18
   19          IT IS SO ORDERED.
   20
   21 Dated: December 13, 2017                                             ___
   22                                            THE HONORABLE MANUEL L. REAL
                                                  UNITED STATES DISTRICT JUDGE
   23          Respectfully submitted:
   24 By: /s/ Joseph N. Akrotirianakis
   25 JOSEPH    N. AKROTIRIANAKIS
      KING & SPALDING LLP
   26
      Attorneys for Plaintiff
   27 ATTEBURY GRAIN. LLC
   28
                                                   15
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